         Case 1:21-cr-00117-RCL Document 287 Filed 12/20/23 Page 1 of 5




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                       :
                                               :
         v.                                    :              No. 21-cr-117 (RCL)
                                               :
ALEX KIRK HARKRIDER,                           :
                                               :
                       Defendant.              :

                         GOVERNMENT’S OPPOSITION TO
                    DEFENDANT’S MOTION TO CONTINUE TRIAL

       The United States of America respectfully opposes the defendant’s Motion t and

Supplemental Motion to Continue Trial (ECFs 285 & 286), which is, in effect, a motion to continue

his trial until sometime after mid-2024. On December 13, 2023, the United States Supreme Court

granted certiorari in United States v. Fischer, 64 F.4th 329 (D.C. Cir. 2023), cert. granted 23-5572.

The issue to be considered is the appropriate interpretation of the statute criminalizing obstruction

of an official proceeding, 18 U.S.C. § 1512(c)(2), which is one of the crimes for which the

defendant has been charged. This development does not merit a continuance of the trial scheduled

for January 2, 2024.

       When evaluating whether to issue a stay, “a court considers four factors: ‘(1) whether the

stay applicant has made a strong showing that he is likely to succeed on the merits; (2) whether

the applicant will be irreparably injured absent a stay; (3) whether issuance of the stay will

substantially injure the other parties interested in the proceeding; and (4) where the public interest

lies.’” Nken v. Holder, 556 U.S. 418, 426 (2009) (quoting Hilton v. Braunskill, 481 U.S. 770, 776

(1987)). The third and fourth factors “merge” when a party moves for a stay against the

government. Id. at 435. A stay “‘is not a matter of right, even if irreparable injury might otherwise

result.’” Id. at 433 (quoting Virginian Ry. Co. v. United States, 272 U.S. 658, 672 (1926)). The
         Case 1:21-cr-00117-RCL Document 287 Filed 12/20/23 Page 2 of 5




party seeking the stay bears the burden of “mak[ing] out a clear case of hardship or inequity in

being required to go forward, if there is even a fair possibility that the stay for which he prays will

work damage to some one else.” Landis, 299 U.S. at 255.

       With regard to continuances, “[i]t is firmly established that the granting or refusal of a

continuance is a matter within the discretion of the judge who hears the application, and is not

subject to review absent a clear abuse.” United States v. Burton, 584 F.2d 485, 489 (D.C. Cir.

1978). A court’s review of a motion to continue “necessarily depends on all the surrounding facts

and circumstances,” including: (1) the length of the requested delay; (2) whether other

continuances have been requested and granted; (3) the balanced convenience or inconvenience to

the litigants, witnesses, counsel, and the court; (4) whether the requested delay is for legitimate

reasons, or whether it is dilatory, purposeful, or contrived; (5) whether the defendant contributed

to the circumstance which gives rise to the request for a continuance; (6) whether denying the

continuance will result in identifiable prejudice to defendant's case, and if so, whether this

prejudice is of a material or substantial nature; (7) and other relevant factors which may appear in

the context of any particular case. Id. at 491. Other courts in this district have declined to continue

proceedings connected to January 6, 2021, riot at the United States Capitol based on the Supreme

Court’s decision to hear Fischer. See United States v. Sara Carpenter, 21-cr-305 (JEB) (Minute

Order, 12/15/2023) (declining to delay sentencing based on Fischer).

       Whether viewed as a motion to stay or a motion for a lengthy continuance, the defendant’s

motion should be denied because the relevant factors weigh against his request. First, the fact that

the Supreme Court granted certiorari in Fischer does not establish that the defendant is likely to

succeed on the merits of any challenge to his Section 1512(c)(2) conviction. At this time, a panel

of the D.C. Circuit and every district court judge but one has agreed with the government’s



                                                  2
         Case 1:21-cr-00117-RCL Document 287 Filed 12/20/23 Page 3 of 5




interpretation of that statute. See Fischer, 64 F.4th at 338 (“Although the opinions of those district

judges are not binding on us, the near unanimity of the rulings is striking, as well as the thorough

and persuasive reasoning in the decisions. […] The district judge in the instant case stands alone

in ruling that § 1512(c)(2) cannot reach the conduct of January 6 defendants.”). The mere fact that

the Supreme Court agreed to hear Fischer does not indicate that those opinions were wrongly

decided. See, e.g., Heath v. Jones, 941 F.2d 1126, 1131 (11th Cir. 1991) (“[T]he grant of certiorari

does not necessarily indicate that the position advocated by Heath has any merit, only that it is an

important question.”).

       Additionally, it is unlikely that any decision in Fischer would be issued by the Supreme

Court before the end of its term in June of 2024. That would be nearly three-and-a-half years after

the offenses for which the defendant has been charged. It would also be at least the fourth

continuance of the trial date in this matter. See, e.g., ECF 268 (requesting continuance of trial

date). Delaying the trial for another six months or more would undermine the interests of the public

in the timely adjudication of a case of great significance.

       A further lengthy delay of trial for the defendant would afford him an unfair advantage not

granted to his co-defendant, who was convicted of obstruction of Congress following a plea and

who is presently incarcerated as he awaits sentencing. It would also give him an unfair advantage

not granted to the approximately one hundred and fifty people who have been convicted of

violation Section 1512 in connection with the events of January 6, many of whom have been

sentenced and are now serving terms of incarceration as a result of their convictions. The defendant

should not, based on the timing of his trial relative to the Supreme Court’s grant of certiorari,

receive any benefit not afforded to the many other people who have been tried, convicted, and—

in many cases—incarcerated for violations of this statute.



                                                  3
         Case 1:21-cr-00117-RCL Document 287 Filed 12/20/23 Page 4 of 5




       The defendant will not suffer any irreparable injury by proceeding with trial as scheduled.

Even if the Supreme Court were to decide Fischer adversely to the government, it is not clear that

the Court’s interpretation of Section 1512(c)(2) would necessarily invalidate any application of

Section 1512(c)(2) to the defendant. And even if it did, the appropriate venue for challenging such

a conviction would be a post-conviction appeal. Similarly, there is no reason to continue the

defendant’s trial when there is a strong possibility that, if he were convicted of obstruction of an

official proceeding, he would not be sentenced until after the Supreme Court has ruled in Fischer.

Even if the defendant is sentenced before the ruling in Fisher, he may challenge the conviction

and sentencing by moving for bail pending appeal.

       Moreover, the defendant is charged with and will be tried for more offenses than solely

obstruction of Congress. He has also been charged with violations of 18 U.S.C. §231(a)(3), 18

U.S.C. § 641, 18 U.S.C. § 1752(a), and 40 U.S.C. § 5104(e)(2). Therefore, if the Supreme Court

were to rule adversely to the government with respect to Section 1512(c)(2)’s application to this

case, the defendant would still need to be tried for five other charges. Regardless of the

implications of Fischer, the public and the government have a right to a prompt resolution of this

case with respect to the other charges on the indictment.




                                                 4
         Case 1:21-cr-00117-RCL Document 287 Filed 12/20/23 Page 5 of 5




       For all these reasons, the defendant’s motion to stay/continue his trial for six months or

more should be denied, and the Court should proceed with trial on January 2, 2024.


                                            Respectfully submitted,

                                            MATTHEW M. GRAVES
                                            United States Attorney
                                            D.C. Bar No. 481052

                                    By:     s/ Sean P. McCauley .
                                            SEAN P. McCAULEY
                                            Assistant United States Attorney
                                            New York Bar No. 5600523
                                            United States Attorney’s Office
                                            For the District of Columbia
                                            601 D Street, NW
                                            Washington, DC 20530
                                            Sean.McCauley@usdoj.gov

                                            DOUGLAS B. BRASHER
                                            Assistant United States Attorney
                                            Texas State Bar No. 24077601
                                            Federal Major Crimes – Detailee
                                            1100 Commerce Street, Third Floor
                                            Dallas, TX 75242
                                            douglas.brasher@usdoj.gov

                                            SARAH W. ROCHA
                                            Trial Attorney
                                            D.C. Bar No. 977497
                                            601 D Street, NW
                                            Washington, DC 20530
                                            sarah.wilsonrocha@usdoj.gov




                                               5
